                                      CASE 0:20-cr-00113-DSD-BRT Doc. 5 Filed 06/30/20 Page 1 of 1

                                                  IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF MINNESOTA

                                                      INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                   )            COURTROOM MINUTES - CRIMINAL
                                                            )                 BEFORE: Hildy Bowbeer
                                         Plaintiff,         )                  U.S. Magistrate Judge
                                                            )
   v.                                                       )    Case No:          20-mj-480 DTS
                                                            )    Date:             June 30, 2020
Mohamed Hussein Abdi,                                       )                      Video Conference
                                                            )    Time Commenced:   11:01 a.m.
                                         Defendant.         )    Time Concluded:   11:16 a.m.
                                                            )    Time in Court:    15 minutes
                                                            )
                                                            )

APPEARANCES:
   Plaintiff: Harry Jacobs, Assistant U.S. Attorney
   Defendant: Lisa Lopez, Assistant Federal Public Defender
                          X FPD          X To be appointed

   Date Charges Filed: 6/26/2020                           Offense: Arson

                 X Waived Reading of Charges               X Advised of Rights

on            X Complaint

X Government moves for detention.
Motion is X granted, temporary detention ordered.

Next appearance date is Thursday, July 2, 2020, at 9:00 a.m. via video conference before U.S. Magistrate Judge Hildy
Bowbeer for:
 X Detention hrg        X Preliminary Examination



Additional Information:
X Defendant consents to this hearing via video conference.



                                                                                                     s/Amy Halverson
                                                                                       Signature of Courtroom Deputy




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